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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION


                                          )
  ARI WEINER,                             )            No.:        21 – CV – 2379
  Plaintiff,                              )
                                          )            U.S. District Judge:
  v.                                      )            Charles R. Norgle, Sr.
                                          )
  SUDLER AND COMPANY,                     )            U.S. Magistrate Judge:
  Defendant.                              )            Sunil R. Harjani
                                          )


                                NOTICE OF DISMISSAL


         Comes now Plaintiff Ari Weiner and, pursuant to Fed. R. Civ. Proc

41(a)(1)(A)(i), hereby dismiss the above-captioned action.




         Respectfully Submitted,

         s/ Ari Weiner

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